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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :
v.                                                    :       CASE NO. 20-cr-206 (RDM)
                                                      :
SHAHN GILES,                                          :
TAQUAN CANARTE, 1                                     :
                                                      :
                            Defendants.

                                   NOTICE TO THE COURT

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully submits this notice to the Court and states as follows:

       1.       The defendants are charged by indictment with the following Counts:

                a. In Count One, Shahn Giles is charged with Unlawful Possession with Intent to

                   Distribute 40 Grams or More of Fentanyl in violation of Title 21 U.S.C. §§

                   841(a)(1) and 841 (b)(1)(B)(vi).

                b. In Count Two, Taquan Canarte is charged with Unlawful Possession with Intent

                   to Distribute Fentanyl in violation of Title 21 U.S.C. §§ 841(a)(1) and 841

                   (b)(1)(C).

                A hearing is currently set for January 25, 2021 at 2:00 p.m.

       2.       As previously stated to the defense and on the record, the government has been

investigating potential additional criminal liability against the defendants.

       3.       As a result of the continued investigation, the government intended to seek a

superseding indictment against the defendants and had planned to present a superseding indictment

during scheduled Grand Jury time on Wednesday, January 13, 2021. Since June 2020, the Grand


1 A similar Notice to the Court has been submitted in the following cases: United States v. Tyree
Marshall and Davon Dabney 20-cr-027 (KBJ); United States v. Mikael Matthews 20-cr-134
(APM); United States v. Michael Robinson 20-cr-169 (TSC); United States v. Isaiah Anderson
20-cr-177 (DLF); and United States v. Kevon Maynor 20-cr-208 (RDM).
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Jury has been operating on a reduced schedule due to protocols that have been put in place in order

to minimize the risk of exposure to and community transmission of COVID-19. The government’s

opportunity to finalize the presentation of evidence prior to January 13, 2021 was further impeded

by the fact that nearly all of the members of the Violence Reduction Unit (the lead investigative

agency on this long-term investigation) were required to quarantine due to the pandemic during

the month of December.

        4.       However, on the evening of January 12, 2020, the reserved Grand Jury time was

canceled based upon the closure of the District Court and Grand Jury on January 12, 2021.

        5.       At this time, due to the influx of cases from the U.S. Capitol riot and the already

limited Grand Jury time available during the ongoing COVID-19 Pandemic, the government has

rescheduled the canceled Grand Jury time for the first available opening, that is, the week of

February 15, 2021. The government will endeavor to secure an earlier date in the event additional

Grand Jury time is made available in order to finalize the presentation of the evidence to the Grand

Jury at the earliest possible date.

        6.       The government has informed defense counsel of this intention and over the next

few weeks will start to provide discovery related to the additional charges to avoid further delay.

                                                      Respectfully submitted,

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                                                      ACTING UNITED STATES ATTORNEY
                                                      New York Bar No. 4444188

                                               By:             /s/ Rachel A. Fletcher
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